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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :
                                            :     Case No.: 1:21-cr-00508-BAH
LUKE WESSLEY BENDER                         :
                                            :
and                                         :
                                            :
LANDON BRYCE MITCHELL                       :
                                            :
              Defendants.                   :

                     GOVERNMENT’S NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney

for the District of Columbia, informs the Court that Assistant United States Attorney

Michael M. Gordon, as counsel for the United States, is terminating their appearance as

counsel of record in this matter. All other government counsel noted on the docket at the time

of this filing will remain counsel for the United States.



                                                   Respectfully Submitted,

                                                   MATTHEW M. GRAVES
                                                   UNITED STATES ATTORNEY
                                                   D.C. Bar No. 481052


                                            By:    /s/ Michael M. Gordon
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